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                        EXHIBIT 3
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                                 Transcript of ABC7 Story
               Video Attached as Exhibit 3-A to the Declaration of Tim Letbetter

LIZ CHO (ABC7 EYEWITNESS NEWS): (Voiceover) Well new video today is revealing some
new information about that viral confrontation this weekend between a Catholic high school
student from Kentucky and a Native American elder. The video seems to show the students being
verbally attacked first by a different group of demonstrators at the Lincoln Memorial.

LIZ CHO: The entire scene, a troubling display of tensions between race, religion and
political beliefs.

STUDENT: I’m so confused.

LIZ CHO: (Voiceover) It is video that has gone viral. Catholic high school student face-to-face
with a Native American elder. Seemingly taunting him. But today, new video has emerged
revealing a fuller picture of what led to that moment. It shows a small group of black men who
identify themselves as Hebrew Israelites first shouting hateful and racially combative things at
everyone: the Native Americans, the other black men, the Catholic students, even a priest.”

DEMONSTRATOR: That’s Make America Great Again. A bunch of child-molesting
[expletive censored in video].

DEMONSTRATOR: See how you got these pompous bastards come down here in the middle of
a Native rally with their dirty-ass hat on?

DEMONSTRATOR: A bunch of incest babies. A bunch of babies made out of incest.

LIZ CHO: (Voiceover) The Catholic students at first just watch and did not engage. In a
statement, the student at the center of the viral video, Nick Sandmann, says, “The rhetoric was
starting. Because we were being loudly attacked and taunted in public a student asked one of our
teacher chaperones for permission to begin a school spirit chant to counter the hateful things that
were being shouted at our group.”

LIZ CHO: (Voiceover) The students start to chant, at one point a student removes his shirt
and then a couple of minutes later, the Native American group enters the fray. Nathan
Phillips, an Omaha tribe elder, and another drummer approached the group, he says to stop
potential violence.

NATHAN PHILLIPS: I realized I had put myself in a really dangerous situation, you know. It
was like, here’s a group of people who were angry at somebody else and I put myself in front of
that.

LIZ CHO: (Voiceover) Phillips, a Vietnam veteran, walks around and eventually comes face-to-
face with Sandmann who says he was the one trying to deescalate the situation, saying, “I
believed by remaining motionless and calm, I was helping to diffuse a situation. I realized that
everyone had cameras, that perhaps a group of adults was trying to provoke a group of teenagers
into a larger conflict.” Amid all this, the taunting from the Hebrew Israelites continues.
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DEMONSTRATOR: This is a bunch of future school shooters.
STUDENT: Whoa.

LIZ CHO: (Voiceover) Phillips maintains he felt the kids were mocking him and being rude.
Sandmann says it was the adults using hateful words and trying to provoke the kids, not the other
way around.

LIZ CHO: Well, the mayor of Covington, Kentucky, where the students are from, and the leader
of the Diocese which oversees the school both condemned the students’ actions and said they are
now investigating the incident.




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